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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLORADO

CASE NO. 16-cr-00341-CMA
UNITED STATES OF AMERICA,

Plaintiff,

1. DAVID MICHAEL ANSBERRY

Defendant.

 

DAVID ANSBERRY’S PLEA OF GUILTY AND STATEMENT OF FACTS
RELEVANT TO SENTENCING (WITHOUT PLEA AGREEMENT)

 

Defendant, David Michael Ansberry, personally and by counsel, David Johnson and

Shira Kieval, submits this Plea of Guilty and Statement of Facts Relevant to Sentencing:
I. PLEA OF GUILTY

David Ansberry intends to plead guilty to the Indictment which charges him with a

violation of 18 U.S.C. § 2332a(a)(2), without a plea agreement.
II. ELEMENTS OF THE OFFENSE

David Ansberry submits that the elements of 18 U.S.C. § 2332a(a)(2) are as follows:

First: The person did, without lawful authority, attempt to use an item defined in 18
U.S.C. § 2332a(c)(2), namely a destructive device, as defined in 18 U.S.C. § 921;

Second: The person did so against property within the United States; and

Third: The mail or any facility of interstate or foreign commerce was used in furtherance

of the offense.

OURT EXHIBIT
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NOTE: In 18 U.S.C. § 921, the term “destructive device” is defined to include, inter alia,
an explosive bomb or similar device.

The United States advises that it agrees ys disagrees (), or takes no position ().

Ill. STATUTORY PENALTIES

The maximum statutory penalty for a violation of 18 U.S.C. § 2332a is not more than a
term of life imprisonment; not more than a $250,000 fine, or both; not more than 5 years
supervised release; a $100 special assessment fee; and restitution if applicable.

A violation of the conditions of probation or supervised release may result in a separate
prison sentence and additional supervision.

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IV. COLLATERAL CONSEQUENCES

The conviction may cause the loss of civil rights, including but not limited to the rights to
possess firearms, vote, hold elected office, and sit on a jury. If Mr. Ansberry is an alien, the
conviction may cause him to be deported or confined indefinitely if there is no country to which
he may be deported, to be denied admission to the United States in the future, and to be denied

citizenship.

Vv. FACTUAL BASIS TO SUPPORT THE PLEA OF GUILTY
David Ansberry admits to the following:
Between 4:56 a.m. and 5:14 a.m. on October 11, 2016, David Ansberry made several
calls on a cellular phone in an attempt to detonate a small destructive device that was in a
backpack outside of the police station in Nederland, Colorado. The device failed to detonate.
Mr. Ansberry had previously purchased the cellular telephone from a King Soopers store in order

to use it for this purpose. The telephone operated using the AT&T network.
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Contrary to statements made by the government at the detention hearing in this case, the
destructive device did not contain arsenic or any other poison. Government testing has
subsequently confirmed this.

Further, the destructive devise was not intended to cause casualties or mass destruction.

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VI. SENTENCING COMPUTATION

David Ansberry understands that sentencing is determined pursuant to 18 U.S.C.

§ 3553(a). In determining the particular sentence to be imposed, the Court is required to
consider seven factors. One of those factors is the sentencing range computed by the Court
under advisory guidelines issued by the United States Sentencing Commission. In order to aid
the Court in this regard, Mr. Ansberry sets forth below his estimate of the advisory guideline
range called for by the United States Sentencing Guidelines.

David Ansberry estimates the advisory guidelines apply as follows:

A. Mr. Ansberry disagrees with the government that U.S.S.G. § 2M6.1 applies. See

ECF Doc. No. 34 at 7. The correct applicable guideline is § 2K1.4. Further,
subsection (a)(1) of § 2K 1.4 does not apply because the offense did not involve
knowingly creating a substantial risk of death of serious bodily injury, nor did the
offense involve the attempted destruction of any facility or place of public use.
Instead, subsection (a)(2)(C) of § 2K1.4 applies, with a base offense level of 20,
because the offense endangered a place of public use.

B. No specific offense characteristics apply.
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C. The only specific Chapter III adjustment that applies is § 3E1.1 (a three-level
adjustment for acceptance of responsibility). Mr. Ansberry does not believe that

either §§ 3A1.2(a) or 3A1.4 applies. See ECF Doc. No. 34 at 8.
D. The adjusted offense level would be 17.
E. Mr. Ansberry’s criminal history category is estimated as Category I.

F. Assuming the accuracy of the criminal history estimate, the Career Offender
guideline and the Armed Career Criminal statute do not apply.

G. The advisory guideline range of imprisonment resulting from an offense level of
17 and a criminal history category of I is 24-30 months. In order to be as accurate as possible,
with the criminal history category undetermined at this time, the range could conceivably extend
from as low as 24 months (bottom of Category I) to as high as 63 months (top of Category VI).

H. Pursuant to guideline § 5E1.2, the fine range for this offense would be $10,000 to
$95,000, plus applicable interest and penalties.

I. Pursuant to guideline § 5D1.2, if the Court imposes a term of supervised release,
that term is 2 to 5 years.

The United States advises that it agrees (), disagrees ; or takes no position ().

David Ansberry understands that although the Court will consider the above estimate, the
Court must make its own determination of the guideline range. In doing so, the Court is not
bound by any estimate calculated herein, regardless of whether agreed to by the government.

No estimate regarding the guideline range precludes Mr. Ansberry or the government
from asking the Court, within the overall context of the guidelines, to depart from the guideline

range at sentencing if Mr. Ansberry or the government believes a departure is specifically

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authorized by the guidelines or that there exists an aggravating or mitigating circumstance of a
kind, or to a degree, not adequately taken into consideration by the United States Sentencing
Commission in formulating the advisory guidelines. Similarly, no estimate regarding the
guideline range precludes Mr. Ansberry or the government from asking the Court to vary from
the advisory guidelines and to impose a non-guideline sentence based on other 18 U.S.C. § 3553
factors.

David Ansberry understands the Court is free, upon consideration and proper application
of all 18 U.S.C. § 3553 factors, to impose a sentence which it deems appropriate in the exercise
of its discretion and that such sentence may be less than that called for by the advisory guidelines
(in length or form), within the advisory guideline range, or above the advisory guideline range -
up to and including imprisonment for the statutory maximum term, regardless of any

computation or position of any party.

Date: aha Dur) Wwe GAR

DAVID MICHAEL ANSBERRY /
Defendant

Date: _afiapia. Zz Z.

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Attorney for Deferdaril

  

As to matters agreed to by the United States:

Date: 7//8/ 207 UL. Ws Le,

Gregory/Hblloway wsBA/ #28043
Assistant U.S. Attorne
